                          Exhibit H

               Qilin Cheng Declaration




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                           IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                                 Civil Action No.: 1:18-cv-1046


HUI MINN LEE,                       )
     Plaintiff,                     )
                                    )
                                    )
      vs.                           )    Declaration of Qilin Cheng
                                    )
                                    )
MARKET AMERICA, INC.,               )
      Defendant.                    )
______________________________________________________________________________

I, Qilin Cheng, declare under penalty of perjury pursuant to 28 USC §1746 as follows:

1.      My name is Qilin Cheng, and I am over the age of eighteen (18) years.

2.      I give this declaration freely and voluntarily, and I am mentally competent to attest to the

facts stated herein.

3.      The statements herein are based on my personal knowledge, and are true to the best of

my knowledge.

4.      I began employment with Market America in March, 2017, when I was hired as an

Unfranchise Services Representative.

5.      I am of Asian origin, and speak multiple languages, including English and Mandarin

(Chinese).

6.      I attended the March, 2017 Unfranchise Services Mandarin-Speaking new hire training

that was taught by Hui Minn “Nadine” Lee. The training was conducted in Mandarin for

customer service representatives who predominately spoke Mandarin and could not understand

the English training. During the training, Ms. Lee was exceptional. She was very informative and

eager to teach. I found her training style to be very engaging and well performed. She was


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always available to answer questions and explain issues in detail. I found her to be a team player

who worked well with others.

7.     After completion of the training, I was able to perform my duties without any problems.

I did not hear any complaints about Ms. Lee’s training methods from any other trainee working

with Market America on the same job.



I declare under penalty of perjury that the foregoing is true and correct.




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